                IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE


 UNITED STATES OF AMERICA                         )
                                                  )
 v.                                               )       No. 2:13-CR-076
                                                  )
 JACK MAYFIELD, JR.,                              )
 JAMES CARROL HICKMAN                             )


                            MEMORANDUM AND ORDER


               This criminal case is before the court on the government’s motion to continue

 [doc. 53]. The government asks for a continuance of the November 5, 2013 trial date, citing

 a scheduling conflict with two law enforcement witnesses. The defense has no opposition

 to the government’s request. [Docs. 53, 58].

               The court finds the motion well-taken, and it will be granted. The ends of

 justice served by granting the motion outweigh the best interests of the public and the

 defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). In light of the reasoning set forth

 by the prosecution, the court finds that the failure to grant the motion would deny counsel

 for the government reasonable time necessary for effective preparation.          18 U.S.C.

 § 3161(h)(7)(B)(iv). The motion requires a delay in the proceedings. Therefore, all the time

 from the filing of the motion to the new trial date is excludable as provided by the Speedy

 Trial Act. 18 U.S.C. § 3161(h)(7)(A).




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              It is hereby ORDERED that the motion to continue [doc. 53] is GRANTED,

 and this criminal trial is CONTINUED to Tuesday, February 11, 2014, at 9:00 a.m. in

 Greeneville. The new plea cutoff date is January 28, 2014.



                                                ENTER:



                                                      s/ Leon Jordan
                                                United States District Judge




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